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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA



   HAYES MEDICAL STAFFING, LLC, a Florida
   Limited Liability Company,
                              Plaintiff,
                      v.
                                                            Case No. 0:23-CV-60748-Leibowitz/Strauss
   AMY EICHELBERG, an individual,
   ALLISON PATIERNO, an individual, SCOTT
   SIMON, an individual, and JOBOT, LLC, a
   California Limited Liability Company,

                                 Defendants.

        DEFENDANT EICHELBERG’S NOTICE OF DEPOSITION AVAILABILITY

         Pursuant to the Court’s May 23, 2024 Order, ECF No. 120, Defendant Amy Eichelberg

  (“Eichelberg”), submits this Notice of Deposition Availability and hereby provides the following

  status update:

         Eichelberg’s daughter’s medical condition has remained stable. Unless her medical

  condition changes, and following sufficient time after Hayes’s completion of satisfactory

  document productions and discovery responses and resolution of discovery disputes, Eichelberg

  can be available for deposition except on September 13.

         As Eichelberg’s daughter’s medical condition has remained stable, Eichelberg respectfully

  requests that the Court relieve her of her current obligation to submit bi-monthly availability

  reports unless her daughter’s medical condition changes, in which case she will promptly inform

  the Court and Plaintiff.

  Dated: August 5, 2024

                                                  /s/ Kimberley E. Lunetta
                                                  Kimberley E. Lunetta, Esq.
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                                                    Counsel for Defendants

                                   CERTIFICATE OF SERVICE

         I hereby certify that on August 5, 2024, I electronically filed the foregoing with the Clerk

  of the Court by using the CM/ECF system. I also certify that the foregoing document is being

  served this day on all counsel of record or pro se parties identified on the attached Service List in

  the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

  or in some other authorized manner for those counsel or parties who are not authorized to receive

  electronically Notices of Electronic Filing.


                                        /s/ Kimberley E. Lunetta
                                        Kimberley E. Lunetta




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